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   1   Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
       Michael J. Manning, Esq. (State Bar No. 286879)
   2
       Tristan P. Jankowski, Esq. (State Bar No. 290301)
   3   MANNING LAW, APC
   4
       4667 MacArthur Blvd., Suite 150
       Newport Beach, CA 92660
   5   Office: (949) 200-8755
   6
       Fax: (866) 843-8308
       ADAPracticeGroup@manninglawoffice.com
   7

   8
       Attorneys for Plaintiff GUILLERMO ROBLES,

   9                      UNITED STATES DISTRICT COURT
  10
            CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
  11

  12   GUILLERMO ROBLES, an individual, Case No.: 2:17-cv-00916-MWF-PLA

  13                     Plaintiff,            Hon. Michael W. Fitzgerald
  14
                         v.                    NOTICE OF VOLUNTARY DISMISSAL
  15                                           WITHOUT PREJUDICE PURSUANT TO
       LA SALSA FRANCHISE, LLC, an             FEDERAL RULE OF CIVIL
  16                                           PROCEDURE 41(a)(1)(A)(i)
  17   Arizona Limited Liability Company;
                                               Complaint Filed: February 3, 2017
  18
       and DOES 1-10, inclusive,
  19                                           Trial Date: None Set
                         Defendant.
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                        VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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Case 2:17-cv-00916-MWF-PLA Document 16 Filed 06/02/17 Page 2 of 2 Page ID #:52




   1         TO THE COURT AND ALL PARTIES:
   2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
   3   Plaintiff Guillermo Robles (“Plaintiff”) requests that this Court enter a dismissal
   4   without prejudice of Plaintiff’s complaint in the above-captioned action, in its
   5   entirety. Plaintiff anticipates filing a Notice of Voluntary Dismissal With
   6   Prejudice within 30 days.
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   8                             CERTIFICATE OF SERVICE
   9         I certify that on June 2, 2017, I electronically filed the foregoing document
  10   with the Clerk of the Court using CM/ECF. I also certify that the foregoing
  11   document is being served this day on counsel of record in this action via email
  12   transmission and via transmission of Electronic Filing generated by CM/ECF.
  13                                                  Respectfully submitted,
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  15   Dated: June 2, 2017                            MANNING LAW, APC

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  18                                          By:     /s/ Michael J. Manning, Esq.
                                                     Michael J. Manning, Esq.
  19                                                 Joseph R. Manning, Jr., Esq.
  20                                                Tristan P. Jankowski, Esq.

  21                                                  Attorneys for Plaintiff,
  22                                                  GUILLERMO ROBLES

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                         VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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